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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 17-cv-20018-GAYLES


  DAVID JIA,
       Plaintiff,

  v.

  UNIVERSITY OF MIAMI, et al.,
       Defendants.
                                                      /

                                 ORDER REFERRING CASE
                            TO VOLUNTEER ATTORNEY PROGRAM

          THIS CAUSE is before the Court on pro se Defendant Angela Cameron’s Motion for

  Referral to Volunteer Attorney Program. [ECF No. 170]. After reviewing the matter and being fully

  advised, it is

          ORDERED that this matter is referred to the Court’s Volunteer Attorney Program, where a

  volunteer attorney may accept the representation on a pro bono basis if so desired; it is further

          ORDERED that the Clerk of Court will obtain a description of the case and contact

  information to post on the Court’s website of available pro bono cases seeking volunteer lawyers; it

  is further

          ORDERED that if the representation is accepted, the volunteer attorney shall enter an

  appearance in the case and thereafter will be eligible for reimbursement of reasonable litigation

  expenses pursuant to the Court’s Reimbursement Guidelines for Volunteer Counsel.

          DONE AND ORDERED in Chambers at Miami, Florida, this 8th day of March, 2019.



                                                  ________________________________
                                                  DARRIN P. GAYLES
                                                  UNITED STATES DISTRICT JUDGE
